Case 2:13-cr-02094-TOR   ECF No. 757   filed 09/10/14   PageID.2950 Page 1 of 6
Case 2:13-cr-02094-TOR   ECF No. 757   filed 09/10/14   PageID.2951 Page 2 of 6
Case 2:13-cr-02094-TOR   ECF No. 757   filed 09/10/14   PageID.2952 Page 3 of 6
Case 2:13-cr-02094-TOR   ECF No. 757   filed 09/10/14   PageID.2953 Page 4 of 6
Case 2:13-cr-02094-TOR   ECF No. 757   filed 09/10/14   PageID.2954 Page 5 of 6
Case 2:13-cr-02094-TOR   ECF No. 757   filed 09/10/14   PageID.2955 Page 6 of 6
